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                                                                                  U.S. DISTRICT COURT
                                                                                DISTRICT OF NEW HAMPSHIRE
                                                                                          AUGU 202fl
                                        UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW HAMPSFIIRE                       FILED


         UNITED STATES OF AMERICA


                   V.                                                          Docket No.: l:16-CR-33-JL


         DANIEL E. MUSSO




                               DEFENDANT'S THIRD PROPOSED EXHIBIT LIST


                Defendant Daniel E. Musso, by his attorneys, respectfully submits the within Exhibit List.

        The Defendant expects to present the following exhibits at trial:


         A                     Government Documents concerning Milton Abrams
         Series:
         A-1                   CFIS Admonishments 02/27/12                                 01826-01827
         A-2                   CHS Admonishments 02/28/13                                  01828-01829
         A-3                   CHS Admonishments signed by M. Abrams(2013)                 01847-01851
         A-4                   CHS Admonishments 03/17/14                                  01830-01831
         A-5                   CHS Admonishments 03/13/15                                  01832-01833;

         A-6                   CHS Admonishments signed by M. Abrams(2015)                 01842-01846
         A-7            (ID)   Revocation 12/11/15                                         01852-01853
         A-8                   CHS Admonishments 03/07/16                                  01834-01835
         A-9                   CHS Admonishments 03/09/17                                  01836-01837
         A-10                  CHS Admonishments 02/22/18                                  01838-01839
         A-n                   CHS Admonishments 03/05/19                                  01840-01841
9J/0     A-12           (U0)
                           Firearms Inspection Report 2015                                 01703-01711
•i/io    AU3            W) ATF Warning Letter 10/20/15                                     01712-01713


         B                     Other documents reflecting FBI relationship with
         Series:               Milton Abrams and payments made to him
         B-1                   Giglio Disclosure letter re: payments to Abrams 12/08/17
         B-2                   FBI Payment Request/Receipts 01-02/2013 ($400.00)           01867-01869
         B-3                   FBI Payment Request/Receipts 02/2013 ($300.00)              01873-01879
         B-4                   FBI Payment Request/Receipts 04/2013 ($400.00)              01884-01886
         B-5                   FBI Payment Request/Receipts 07/2013 ($300.00)              01793-01796;
                                                                                           01902-01904
         B-6                   FBI Payment Request/Receipts 08/2013 ($800.00)              01911-01914



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       B-7               FBI Payment Request/Receipt 03/2015 ($5,000.00)         01938-01939;
^0                                                                               01942
^J(u   B-8        a<>)   FBI Payment Request/Receipt 01/2016 ($5,000.00)         01944-01946
       B-9        (ID)   Emai! strinji re: CHS 04/07/15 -4/30/15                 01859-01866

"ijn   B-10              FBI Field Office Annual Source Report                   01825


       C                 Milton Abrams-FBI communications
       Series:
       C-1       (ID)    Text messajtes from CHS phone 08/14/15 - 04/20/17       00935-00938
       C-2               FBI report(11/15/16) re: David Musso visit to Charlie   01289-01290
                 (ID)
                         Company Army Navy on 10/14/16

       D                 Documents signed by Defendant following the 01/27/16
       Series:           arrest

                         Advice of Rights 01/27/16                               00327
       D-I
       D-2               Consent to Search 71 Main Street (upstairs), East       00328
                         Kingston, NH 01/27/16
       D-3               Consent to Search 149 Crawley Falls Road, Brentwood,    00329
                         NH 01/27/16
       D-4       (ID)    Consent to Search 2006 Toyota Scion 01/27/16            00330
       D-5               Consent to Search Apple MacBook Pro 01/27/16            00331
       D-6               Consent to Search Samsung cell phone 01/27/16           00332


       E                 Photographs
       Series:
       E-1               Photo of 149 Crawley Falls Road, Brentwood              00434
       E-2               Photo of 149 Crawley Falls Road, Brentwood              00437
       E-3               Photo of 149 Crawley Falls Road, Brentwood              00442
       E-4               Photo of 149 Crawley Falls Road, Brentwood              00451
       E-5               Photo of 149 Crawley Falls Road, Brentwood              00452
       E-6               Photo of 149 Crawley Falls Road, Brentwood              00453
       E-7               Photo of 149 Crawley Falls Road, Brentwood              00530
       E-8               Photo of 149 Crawley Falls Road, Brentwood              00537
       E-9               Photo of 71 Main Street, East Kingston
       E-10              Photo of 71 Main Street, East Kingston
       E-11              Photo of 71 Main Street, East Kingston
       E-12              Photo of 71 Main Street, East Kingston
       E-13              Photo of 71 Main Street, East Kingston
       E-14              Photo of 71 Main Street, East Kingston
       E-15              Photo of 71 Main Street. East Kingston
       E-16              Photo of 71 Main Street, East Kingston
       E-17              Photo of 71 Main Street, East Kingston




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F                Chain of Custody-related documents
Series:
F-1              FBI Explosives Unit Ammunition Support Request            02474
                 11/03/15
F-2              Issue Release/Receipt Document 11/03/15                   02475
F-3              FBI Laboratory Substitution Transaction Record 11/04/15   02501
F-4              FBI document regarding grenades chain of custody          02837-
                 01/27/16-01/23/20                                         02837.02
F-5              FBI search/chain of custody documents 01/27/16 -          00790-00807
                 02/04/16
F-6              FBI Evidence Chain of Custody documents - grenade         00932-00934
                 01/27/16
F-7              FBI Laboratory Report by McCrady in Explosives Unit       01467-01472
          (ID)
                 12/05/17
F-8              FBI Report re: grenade transport 01/09/18                 01721
F-9              FBI Report re: grenade transport 03/22/18                 01824
F-10             FBI Report attaching Declaration of Brian P. LeBlanc      01722-01727
                 02/08/18
F-11             FBI Laboratory Evidence Submitted Receipt 03/17/19        02866
F-12             FBI Laboratory Evidence Return Receipt 03/23/19           02866.02


G                Recordings and Transcripts
Series:
G-1       (ID)   Video (full)- Defendant and CHS meet 01/15/16
G-2       (ID)   Transcript of Audio - CHS Meeting 01/15/16
G-3              Transcript of Audio - CHS Meeting - Slightly Different
          (ID)
                 01/15/16
G-4              Video (full) - Aerial Surveillance 01/27/16
G-5              Video (partial)- Aerial Surveillance 01/27/16
G-6              Video - Seabrook Rest Area Footage 08/06/20

H                Defendant Medical Records
Series:
H-1              Daniel Musso's Medical Records - Professional Audiology
                 Center (2013)
H-2              Daniel Musso's Medical Records - Strafford County
          (ID)
                 House of Corrections


I                Miscellaneous
Series:
I-l              Criminal Complaint and Agent P. Christiana Affidavit      00258-00265
          (ID)
                 01/27/16
1-2       (ID)   Handwritten Notes                                         00105-00108
1-3              Charlie Company Order Form 11/07/15
          M


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 1-4               Wildlife Control Operator License Issued to Daniel Musso
          (ID)
                   6/5/20



       Defendant reserves the right to amend this list of exhibits upon notice to the parties.


                                                               Respectfully submitted,

                                                               DANIEL E. MUSSO


                                                               By his attorneys,

                                                               PRETI FLAHERTY PLLP


Date: August 12, 2020                                    By
                                                               Simon R. Brown, NH Bar #9279
                                                               P.O. Box 1318
                                                               Concord, NH 03302-1318
                                                               (603)410-1555
                                                               sbrown@preti.com




                                 CERTIFICATE OF SERVICE


       1 hereby certify this 12^^ day of August 2020 copies of the foregoing Exhibit List have been
forwarded to all parties of record electronically via email.



                                                               Simon R. Brown, NH Bar #9279




                                                                                            15935672.1
